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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION

      Health Choice Group, LLC, on behalf of
      the United States of America, et al.,
                                                        Civil Action No. 5:17-cv-126-RWS-CMC

                                 Plaintiff/Relator,

      v.

      Bayer Corporation; Amgen Inc.; Onyx
      Pharmaceuticals, Inc.; AmerisourceBergen
      Corporation; and Lash Group,

                             Defendants.

       ORDER GRANTING UNOPPOSED MOTION TO WITHDRAW ATTORNEY FOR
       DEFENDANT BAYER CORPORATION AND REQUEST FOR TERMINATION OF
                          ELECTRONIC NOTICES
 .
            CAME TO BE CONSIDERED the Unopposed Motion to Withdraw Attorney for

     Defendant Bayer Corporation and Request for Termination of Electronic Notices.

     After consideration, the Court finds that the Motion should be GRANTED.

            Therefore, IT IS ORDERED that Joshua DeBold is permitted to withdraw as attorney for

     Defendant Bayer Corporation effective the date of this order.

            IT IS FURTHER ORDERED that electronic notices to Joshua DeBold in this case are

     terminated effective the date of this order.

           SIGNED this 30th day of August, 2018.




                                                       ____________________________________
                                                       CAROLINE M. CRAVEN
                                                       UNITED STATES MAGISTRATE JUDGE
